                          Case 16-26663-AJC                   Doc 50          Filed 10/03/17            Page 1 of 13

                                    UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                          DIVISION

IN RE:                                                                                 CASENUMBER: 16-2663-AJC

                         JUAN CARLOS MORALES
                         MIRTHA MORALES                                                JUDGE A. JAY CRISTOL

            DEBTOR.                                                                    CHAPTER 1I




                            DEBTOR'S MONTHLY OPERATING REPORT (INDIVIDUAL)
                                           FOR THE PERIOD
                          FROM        12t17t2016 ro         12t31t2016


     Comes now the above-named debtor and files its Monthly Operating Report in accordance with the Guidelines

established by the United States Trustee and FRBP 2015.



  Dated:
                                                                                                   Att"r*y f'* D.bt*




            Debtor's Address                                                                       Attorney's Address
            and Phone Number:                                                                      and Phone Number:
             680 West 15 Street                                                                      Richard Seigmeisler, Esq.
             Hialeah , FL 33010                                                                      1800 S.W. 'lst Avenue, #304
                                                                                                      Miami Fl 33129
                                                                                                   Bar No. 0700975
            1g1. f86)600-8679                                                                      Tel. (305)859-7376


Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee
Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Monthly Operating Report, refer to the followng resources on the United States Trustee Program website,
http :l/www. usd oj. g ov/usUr?1 /reg*info. htm.
l)           Instruotions fbr Preparation Debtor's Chapter I I Monthly Operating Repon
2l           lnitial Filing Requirements
3)           Frequently Asked Questions (FAQs)
                      Case 16-26663-AJC                Doc 50      Filed 10/03/17             Page 2 of 13



                                   SCHEDULE OF HOUSEHOLD
                            CASH RECEIPTS AND CASH DISBURSEMENTS

                                                                                           Month         Cumulative
                                                                                DECEMBER 2016              Total
 ASH - tsegrnntng ot Month                                                     $99,340.22


CASH RECEIPTS
 Salary or Cash from Business
 Wages from Othel Sources (attach list to this repoft)                          $374.63

 Interest or Dividend Income                                                    $ 3.75

 Alimony or Child Support
 Social Security/Pension/Retirement
 Sale of Household Assets (attach list to this reporl)
 Loans/Borowing from Outside Sources (attach list to this repoft)
 Other (specifu) (attach list to this report)

TOTAL RECEIPTS                                                                  $378.38


CASH DISBURSEMENTS CHECKS ORDERED
 Alimony or Child Support Payments
 Charitable Contributions
 Gifts                                                                          $ 14.97

 Household Expenses/Food/Cloth ing                                              $1 59.54

 Household Repairs & Maintenance
 lnsurance
 IRA Contribution
 Lease/Rent Payments
 Medical/Dental Payments
 Mortgage Payment(s)
 Other Secured Payments
 Taxes - Personal Property
 Taxes - Real Estate                                                            $5,528.77

 Taxes Other (attach schedule)
 Travel & Entertainment                                                        $ 208.34
 Tuition/Education
 Utilities (Electric. Gas, Water, Cable, Sanitation)                           $139.70
 Vehicle Expenses                                                               $357.77
 Vehicle Secured Payment(s)
 U. S. Trustee Quarterly Fees
 Professional Fees (Legal, Accounting)
 Other (attach schedule)
 PREVIOUSLY SCHEDULED CARD PAYMENT TO TARGETAND BANK OF AMERICA                $373.90




Total Household Disbursements                                                   $6,782.99


CASH - End of Month (Must equal reconciled bank statement-                     $92,935.61
Attachment No. 2)



                                              Monthly Operating Report - lndividual
                              Case 16-26663-AJC                          Doc 50               Filed 10/03/17              Page 3 of 13



                      SUMMARY OF CASH RECEIPTS AND CASH DISBURSEMENTS




Note: The information requested below is a summary of the information reported the various Schedules and Attachments contained within this repc

                                                                                                  Month                  Cumulative
                                                                                         DECEMBER 2016                       Total


  ASH- Besinning of Month (Household)                                                     $99,340.22

  ASH- Beginnins of Month (Business)




 Total Household Receirrts
                                                                                           $378.38


 Total Business Receipts


    Total Receipts                                                                        $378.38



 Total Household Disbursements                                                            $6,782.9e

 Total Business Disbursements


    Total Disbursements                                                                    $6,782.99



\ET CASH FLOW (Total Receipts minus Total Disbursements)                                  -$6,404.61



CASH- End of Month (Individual)                                                           $92,935.61

CASH- End of Month (Business)



           CALCULATION OF DISBTIRSEMENTS FOR TINITED STATES TRT1STEE QT]ARTERLY FEES
TOTAL DISBURSEMENTS (From Above)                                                         $6,782.e9

    Lss: Any Amounts Transferred or Paid from the Business Account to the
llousehold Account (i.e., Salary Paid to Debtor or Owner's Draw)


DISBURStrMENTS FOR U.S. TRUSTEE FEE CALCULATION                                           $6,782.99

 I declare under penalty ofperjury that this statement and the accompanying documents and reports are true and correct to the best of
                                                           my knowledge and belief

  This _             day ol                                 z0
                                                                                        Debtor's Signature




                                                                        Moithl) Operating Repod - Irrdivdual
                            Case 16-26663-AJC                   Doc 50            Filed 10/03/17            Page 4 of 13



T,IONTHL}' OPERATING REPORT -                                                                             ATTACHMENT NO.3A
INDIVIDUAL
                                       CASH DISBf]RSEMENTS DETAILS _ HOUSEHOLD


Name of Bank                                                         :HASE
Account Number                                                      18s618739
Purpose of Account (Personal)                                        PERSONAL

fype of Account (e.g., Checking)                                     3H ECKI NG



  Check        Date of
 Number         Check                      Payee                             Purpose or Description                  Amount
:LECTRONIC   72/79/20Lt   TRAGET CARD                                )OSTED PRIOR TO FILING                                      ss3.90
:LECTRONIC   12/19/2O1e    BANK OF AMERICA                          POSTED PRIOR TO FILING                                      S3zo.oo
)EBIT        L2/20/2O7e TOYS R US                                   CHRISTMAS GIFT                                               5L4.97
///DRAWAL    L2/20/2)fi MIAMI DADE TAX COLLECTOR                    PROPERTY TAXES                                            5s,s28.77
DEBIT        t2/2L/20Le CHEVRON                                     GAS                                                          S4o.so
)EBIT        L2/2L1207e AT&T                                        CELL PHONE COVER                                             Sss.so
DEBIT        L2/2L/207e FLORIDA CITY GAS                            HOUSE NATURAL GAS                                            s26.80
)EBIT        t2/2t/2O7e PU BLIX                                     FOOD                                                         S4t.L4
DEBIT        t2/22/zOLe CITY OF HIALEAH                             GARBAGE                                                      Ss9.oo
DEBIT        12122/zOLc MC DONALD                                   FOOD                                                         S12.so
)EBIT        L2/73/2O7e TONY'S TIRES                                CAR REPAIR                                                 s266.27
DEBIT        L2/23/207e TARGET                                      FOOD                                                        534.2L
)EBIT        t2/27lzoLe WHEATFIELDS RESTAURANT                      FOOD                                                         S81.67
)EBIT        72/28/20Le   FRESCO Y MAS SUPERMARKET                  FOOD                                                         S1s.98
)E8IT        L2/28/20Le WINN DIXIE                                  WINE                                                         s29.es
)EBIT        72/28/20Le TARGET                                      FOOD                                                         S19.48
)EBIT        72/29/20Le FT. LAUDERDALE AIRPORT                      OVERNIGHT PARKING                                            S87.oo
)EBIT        L2/29/20L8 FUDDRUCKERS                                 FOOD                                                         527.t7
)EBIT        t2/29/207e MARATHON STATION                            GAS                                                          Ss1.oo
)EBIT        t2/30/207e WAL-MART                                    FOOD                                                         S18.78




                                                                    TOTAL                                  5                   a,tzz.ss

 lf any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
                                        holding check and anticipated delivery date of check.
                                   Case 16-26663-AJC                             Doc 50             Filed 10/03/17              Page 5 of 13
MONTHLY OPERATING REPORT.                                                                                                                         ATTACHMENT NO. I
INDIVDUAL




                                                                QI,IESTIONNAIRE
                                                                                                                                      YES*        NO
1       Have ary assets been sold or transferred outside the normal course ofbusiness during this
        reoorting oeriod?                                                                                                                         X
        Have any tunds been disbursed tiom anv accclunt other than a debtor in possession acctttutt?                                              X
        Are any post-pctition receivables (aocoults, notes, or loans) due fronr any relatives.
        insiders, or related part_r'?                                                                                                             X
        Have any pai,ments been matle on pre-petitirrn liabilities this reporting period?
                                                                                                                                                  X
        Have any post-petition loans been received by the debtor from any party?
                                                                                                                                                  x
        Are any post-petition payroll talies past due?

        Are any post-petition state or ttderal income taxes past due?
                                                                                                                                                  x
                                                                                                                                                  X
        Are a]r), post-petition state or local sales taxes past due?
                                                                                                                                                  X
        Are an)' post-petltion real estate taxes past duel)
                                                                                                                                                  X
10. Are any amounts owed to post-petition creditors/vendors delinquent?                                                                           X
ll      Are any wage payments past due?
                                                                                                                                                  X
                                                         q uestions             provide                planation                 separate




                                                         INSURANCE INFORMATION
                                                                                                                                       YES        NO*
I       Are real afld personal propeffy. vehicle/auto. genera) liability, fire, theft, worker's
        comDeDsation. md other recessaty insruance coverages in effbct?                                                                X
        Are all premitur payments crrrrent?
                                                                                                                                       X
                      the answer to any ofthe above questions
                                                    questions                   provide a detailed explanation ofeach item on a separate sheet.




                          TYPE ofPOLICY               and              CARRIER




        Check here ifUnited           Trustee has been listed a a                             policies ofinsurance



                                          PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:
         PLEASE NOTE BOTH CHASE ACCOUNTS WERE CLOSED ON O1l03/17.

         BOTH THE TD BANK ACCOUNTS REFERENCE ABOVE WERE ALSO CLOSED ON 01IO5I17.
         ACCOUNT# 2098 WAS NOT OPENED AS DEBTOR AND POSSESION ACCOUNT AND $2080
         DID NOT HAVE BOTH OUR NAMES.

         ON THAT SAME DAY 01105/17 CHECKING ACCOUNT #9909 AND SAVINGS ACCOUNT #1835
         WERE OPEN AS BEDTOR IN POSSESION ACCOUNTS.

     Estimated Date ofFiling the Plan of ReorgaDizatiou and Disclosure Statenert
                           Case 16-26663-AJC                  Doc 50       Filed 10/03/17    Page 6 of 13
MONTHLY OPERATING REPORT.                                                                                 ATTACHMENT NO.2
INDIVIDUAL

                                            BANK ACCOUNT RECONCILIATIONS


Bank Account Information
                                                                 Account         Account           Account        Account
                                                                    #1              #2               #3              #4

Name ofBank:                                                  CHASE             CHASE         TD               TD

Account Number:                                               XXXXXX8739      XXXXXX3550      XXXXXXX2O9S        XXXXXXX2O€

Purpose of Account (Business/Personal)                        PERSONAL         PERSONAL       PERSONAL         PERSONAL

Type ofAccount (e.g. checking)                                CHECKING         SAVINGS        CHECKING         CHECKING


l. Balance per Bank Statement                                 $1,788.48        $97,551.74     $20.00            $0.01
z.   ADD: Deposits not credited lattach list to this report
3. SUBTRACT: Outstanding Checks (attaoh list)
     Other Reconciling Items (attach list to this report)
5. Month End Balance (Must Agree with Books)                  $1,908.91        $9'r,026.70    $20.00             $0.01
     TOTAL OF ALL ACCOUNTS                                                                                    $ 92,955.62


Note: Attach a copy ofthe bank statement and bank reconciliation for each account.

Investment Account Information
                                                                 Date of         Type of       Purchase           Current
           Bank / Account Name / Number                         Purchase        Instrument          Price           Value




Note: Attach a copy of each investment account statement.
                         Case 16-26663-AJC                                 Doc 50             Filed 10/03/17          Page 7 of 13                      Page 1l of14




                  trHASE t^r                                                                       November 29, 2016 through Decembet 27 2016
              JPI\,4organ Chase Bank, N.A.
                                                                                                      Primary Account 0000001 8561 8739
              P O Box 659754
              San Antonio. TX 78265-9754

                                                                                                  CUSTOMER SERVICE INFORMATION
                                                                                                  Web site:                     Chase,com
              l,,ll,,,ll,ll,,,,,,llll,,,,,l,ll,,l,,,l,ll,,l,l,,l,ll,,,,l,l,l                            Center.
                                                                                                  Service                   1-800-935-9935
              oool 21 24 DRE 021 219 36316 NNNNNNNNNNN 1 000000000 18 0000                        Deal and Hard of Hearing: 1-800-242-7383
             JUAN CARLOS IVOBALES
                                                                                                  ParaEspanol.              1-877-312-4273
             680 W 15TH ST                                                                                Calls:
                                                                                                  lnternational             1-713-262-1679
             HIALEAH FL 33010.2828


                                                                                                                                                                8
                                                                                                                                                                8
                                                                                                                                                                8




         We've updated your deposit agreement regarding transactions in a foreign currency

         Elfective November 13, 2016, we've updaled the Deposit Account Agreemenl to clarify how we determine the exchange rate
         for transactions in a foreign currency. See the foreign transaction sections of the General Terms and Eleclronic Funds
         Trans{er Service Terms lor details. You can get the latest Deposit Account Agreement on|ne at chase.com, at a branch or
         by request when you call us.

         lf you have any questions, please vrsil any Chase branch.




          ASSETS
          Checking & Savings                                                     ACCOUNT                      BEGINNING BALANCE ENDING BALANCE
                                                                                                                      THIS PERIOD    IHIS PERIOD
          Chase Premier Plus Checking                                  0000001 8561 8739                              $8,108 47               $2,1s8.27
          Chase Plus Sav ngs                                           000002933733550                                90,762 74               91,026 70
          Total                                                                                                      $98,871.21              $93,184.97


          lnveslments                                                             ACCOUNT                          MARKET   VALUE MARKET VALUE
                                                                                                                    PRIOR   PERIOD THIS PERIOD
          Chase lnvestment Account as of
                                                   .l
                                                        l/30/16         -..'..*-.'..'."9206                            9,330 50                9,330.74
          Total                                                                                                       $9,330.50               $9,330.74


            Please review the important disclosures following the Consolidated Balance Summary
                  estment accounts and insulance products are: Not a Deposit - Not FDI(; ln$red - No
                  Federal Government Agency - Not Guaranteed by the Bank - May Go Down In Value.


          TOTAL ASSETS                                                                                              $108,201.71             $1 02,s1 5.71



         All Summary Balances shown are as o{ December 27, 2016 unless otherwise stated. For details of your retirement
         accounts, credit accounts or securities accounts, you will receive separate statements. Balance summary lnformation for
         annuities is provided by lhe issuing insurance companies and believed to be reliable without guarantee of its completeness
         or accuracy

         Securilies and investmenl advisory services are offered through J.P. Morgan Securities LLC. (JPMS). JPMS, a member of
         FINFA and SIPC, is an affiliate of JPMorgan Chase Bank, N.A.




                                                                                                                              Pase 1 ol 4




https ://oneview j pmchase.net/OneView/stmtPrint Submit. star                                                                                               1/2312017
                         Case 16-26663-AJC                      Doc 50           Filed 10/03/17                Page 8 of 13                     Page 12 of 14




                trHASE t-r                                                                  November 29, 2016 throuqh December 27 2016
                                                                                                Primary Account: 0000001 8561 8739




          CFTAS:PREfEtIEF:PLUSCHECKING,=. . .                                             .:.--..:r.=-'..:.,'=
          JUAN CARLOS I\,,IORALES                                                                   Account Number 0000001 8561 8739




                                                                                          AMOUNT
          Beginning Balance                                                          $8,1 08.47
          Deposits and Additions                                                      2,917.85
          Checks Paid                                                                  -447 08
          ATM & Debit Card Withdrawals                                                    -571 11
          Electronic Withdrawals                                                      -7,849 86
          Ending Balance                                                             $2,158.27

          Annual Percentage Yield Earned This Period                                      0.01.i"
          Interest Paid This Period                                                       s0.02
          lnterest Paid Year-lo-Date                                                      s0 25

        Your account ending in 3550 is linked to this account for overdraft protection.
        The monthly service fee for this account was waived as an added feature ol Chase BusinessSelect Checking accounl




         DATE          DESCRIPTION                                                                                                   AMOUNT
         12109        Southeasl Homeca Py00017032            PPD tD. 1262629477                                                     $81s 20
         12113        ATM Check Deposil 12113 1456 W 49th St Hialeah FL Card 0425                                                     728 00
         12121        Online Transfer From Mma...3550 Transaction#: 5881529215                                                      1,000 00
         1223         Southeast Homeca Py00017032            PPDtD 1262629477                                                        J/4 OJ
         12127        Interest Payment                                                                                                  002
         Total Deposits and Additions                                                                                          $2,91 7.85


        LHecKS PAiDI
        cHEcK   No.           DEscRrProN                                                                      Bilf                  AMouNr
        312 ^                                                                                                 12109                 $447 08
         Total Checks Paid                                                                                                          $447.08
         lf you see a description in the Checks Paid section, it means that we received only electronic in{ormation about the check,
         not the original or an image ol the check. As a result, we're not able to return the check to you or show you an image.
         ^ An image ol this check may be available lor you 10 view on Chase com



         DATE DESCRIPTION                                                                                                            AI!1OUNT

         12112 Card Purchase With Pin 12110 LA Fe Bakery Hialeah FL Card 0425                                                        511.24
         1211   2                                             0425
                    Card Purchase With Pin 12112 Publix Super Mar 9755 Doral FL Card                                                   8,65
         12l'13 CardPurchaseWithPin 12l/13Wal-MartSuperCenteHialeahGardeFLCard0425                                                     6.06
         12120 CardPurchaseWithPin 12120ToysRUS#8705HialeahFLCard0425                                                                 14.97


                                                                                                                       ?age2 ot 4




https ://oneview j pmchase.net/OneView/stmtPrintSubmit.                              star                                                          112312017
                        Case 16-26663-AJC                   Doc 50         Filed 10/03/17                  Page 9 of 13                        Page 13 of 14




                trHASE (^r                                                             November 29, 2016 through December 27. 2016
                                                                                            Primary Account: 0000001 8561 8739




                                                                    (continued)
         ATM & DEBIT CARD WITHDRAW
         DATE DESCRIPTION                                                                                                           AIIIOUNT
         12121 Card Purchase                                              0425
                                      12120 Chevron 0308224 Miam Spflngs FL Card                                                      40.50
         12121 Card Purchase 12120 AT&T Spring Mobile #870 Hialeah FL Card 0425                                                       53.90
         12J21 Card Purchase With Pin 1221 Publix Super Mar 155 E Hialeah FL Card 0425                                                41.14
         12123 Card Purchase          12l21 Mcdonald's F1 1716 Hialeah FL Card 0425                                                   12 50
         12/23 Card Purchase          '1221 Tonys Tire &           Hialeah FL Card0425
         12i23 Card Purchase With Pin 12123 Target T- 12500 K Plaz Omaha NE Card 0425                                                 34.21
         12/27 Card Purchase          12124 Wheallields Eatery And Omaha NE Card 0425                                                 81.67
         Total ATM & Debit card withdrawals                                                                                     $57-r .1 1




         DATE      DESCRIPTION                                                                                                      AI\IOUNT
         11/30 l\4iamidadeproptax 3053755452 460238436 Web lD. 291 1925808                                                 $3,490.47
         1   1/30 Miam dadeproptax 3053755452 46A239092 Web lD: 29'1 9258081                                                    1   ,013.46
         11/30 N,4iamidadeproptax 3053755452 460236540 Web lD: 2911925808                                                            906.42
         12106 12106 Payment To Chase Card Ending lN 5339                                                                             40.00
         12107 Travelers lnsur nsurance          PPD lD: 913020800'1                                                                 368.50
         12/12 American                                      Web lD: 20050321
         12/12 Synchrony Bank Cc     601 91 91 231 25825 Web lD: 9856794001                                                         177.O0
         12/13 Sears Online         12219118261 1573 Web lD:                                                                        200.00
         12113 Sears Onilne Payment 12219117992@94 Web lD: Cllictp                                                                  111 00
         12119 Bk of Amer Vl/Mc Online Pmt Ckf655359536POS Web lD: 9500000000                                                       320 00
         12119 Targel Card Srvc Bill Pay 000000005351326 Web lD: T510215170                                                          53 90
         12/21 12121 Online Payment 5881528741 To Florida City Gas Company                                                           26 80
         12122 City ol Hialeah 3055563800 627724212 Web lD: 1870370820                                                               59.00
         Total Electronic Withdrawals                                                                                      $7,849.86




         HE{AH*:P!-;[I,H SftYlEffiH                   ;;;;;:;;:;;:r;;;::;;:;:I:::::::;;;i;:i; :;
                                                  =
                                              =                                                               =
         JUAN CAHLOS IVIOBALES                                                                Account Number: 000002933733550



             SAVINGS SUMMABY
                                                                                   AMOUNT
         Beginning Balance                                                      $90,762.74
         Deposits and Additions                                                   6,792.73
         Electronic Wilhdrawals                                                   -1,000 00
         Other Withdrawals                                                        -5,528 77
         Ending Balance                                                         $91,026.70

         Annual Percentage Yield Earned This Perlod
         lnterest Paid This Period                                                  s3.73
         lnlerest Paid Year-to-Date                                                )J4.CO


                                                                                                                  Pase 3 ol 4




https ://oneviewj pmchase.net/OneView/stmtPrintSubrnit. star                                                                                      1123t2017
                         Case 16-26663-AJC                               Doc 50               Filed 10/03/17                     Page 10 of 13                      Page 14 of 14




               trHASE a-^l                                                                                November 29, 2016 through December        27 2016
                                                                                                              Primary Account: 00000018561 8739




         The monthly service f ee for this account was waived as an added feature oI Chase Premier Plus Checking account




          DAT€        DESCRIPTION                                                                                                AIV]OUNT             BALANCE

                        Beginning Balance                                                                                                         $90,762.74
         11/29 ATM Check Deposit 1/29 1456 W 49th St Hialeah FL Card 0425
                                                    1                                                                           965.00              91,727 74
         12lOS ATM Check Deposit 12105 1456 W 491h St Hialeah FL Card 0425                                                     2,525.00             94,252 7 4
         12105 ATM Check Deposit 12103 4451 Nw 36th St Miami Springs FL Card                                                   2,199.00             96.451 74
                     o425
         12i05       ATM Cash Deposlt 12105 1456 W 49th St Hialeah FL Card 0425                                                  400,00             96,851.74
         12/07       ATM Check Deposit 1 2/07 1 456 W 49th St Hialeah FL Card 0425                                               700.00            97,551 .74
         12120 12120 Withdrawal                                                                                               - 5,528 77           92,022 97
         12121 12121 OnlineTransferToChk...ST39Transaction#.5881529215                                                        - 1,000.00           9'1,022.97
         l2l27 lnterest Payment                                                                                                      3.73          91,026.70
                        Ending Balance                                                                                                            $91,026.70

         You earned a higher inlerest rale on your Chase Plus Savings account during lhis stalement period because you had a
         qualilying Chase Premier Plus Checking account




         INCASEOFERRORSORAUESTIONSABoUTYOURELECTRONICFUNDSTRANSFEBS:                                            Callorwriteusatthephonenumberoraddress
         on the fronl of this statement (non-personal accounls contact Customer Service) if you think your statement or receipt is incorreci or if you need
         moreinformationaboutatransferlistedonthestatementorreceipt. Wemusthearfromyounolaterthan60daysatterwesentyoutheFlFiST
         stalement on which the problem or e(or appeared. Be prepared to give us the following inlormation:
                 .     Your name and account number
                 o     The dollar amount of the suspecled erro'
                 .     A oesor.pl.on ol lhe e-ror or trdnsfer you are unsure of, why you beheve rl is ar e'ror, or why you reed Tore informatior.
         We will investrqate vour como dinl and will correct a1v error oromollv. l'we take more Ihar '10 busrness davs (or 20 business davs for new
         accounts) to d6 thid we wrli iredil your accounl lo, th'e amount yciu {hrnk is rn error so lhat you wilt have usci ol rhe money during ihe time rl lakes
         us to complete our invesligation.
         lN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank rmmediately rl your statement s
         r.correcl or rf voL need more nrormalron about anv ion-electronic transactrons (checls or oeDos,ts) on Ihrs statement ll anv such error apoears.
         Vou must iot'6,/ the bank rn writino no later tldn 30'oaVS dttor the stalerent was made available to vou. tror more complete
                                                                                                                                    tletails. see lhb
         Account Ruled ard Bequlalions o-r otrer applcable aicount aqreemenl tndt qoverns yoJr accoJnt.       '

                                                                                                         @       .leuorgrn chas Bank, N.A. Member FDlc




https :i/oneview j pmchase.net/OneView/stn-rtPrintSubmit. star                                                                                                         U23t2017
                       Case 16-26663-AJC                    Doc 50          Filed 10/03/17                Page 11 of 13                     Pagc 1 of I



       Traflsaetion l-listorY
       Customer: JUAN CARLOS tqORALES
                     ]UAN CARLOS MORALES
       Account: t"l1lFLIGA Checkinq +XXXXXB739



                                                                                                                                          Cal€ndar
       Current Balance $l          Present Balance E        Available Less overdraft E                  available Balance |B
       s0.00                       s0.00                    s0.00                                       $0.00

                                                                                                      *denotes *nd ol cJa? i't   ;,:r i   ;i :   .t ;   , ',

       Date Posted Tran Type               Description                       g     Debits(-)              $     Credits(+) $     Balance
       L212812016 Debit Card               FRESCO Y MAS #2 541 W                          - 1 5.9B                               2,1,42.29 "
                                           HIALEAH
       12/27/2076 Interest                 INTEREST PAYMENT                                                              0.02    2,1,58.27 *
       12127/2016 Debit Card               WHEATFIELDS EATERY AND                         -81.57                                 2,158.25
                                           OMAHA N
       12/23/2076 Debit Card               TARGET T- 12500 K Plaz Omaha                   -34.21                                 2,239.92 *
                                           N
       72/23/2016 Aebrtled                 TONYS TiRE & ALIGNMENT                        -266.27                                 2,274.73
                                           HIALEAH
       72/23/2076 Deblt Card               MCDONALD'S F 777 T6 HIALEAH                    -   12.50                              2,540.40
                                           FL
       12/23/2016 ACH Deposit SOUTHEAST HOMECA                                                                       37 4 .63    2,552.90
                                           PYo001 7032
       1.2/22/2016 ACU-Qe-la-tCITY OF H]ALEAH 3055563800                                  -59.00                                 2,178.27 *
                              62
       12/27/2016 Debit CaC PUBLIX SUPER MAR 155 E                                        -41.14                                 2,237.27 *
                              HIALEAH
       12/2112016 BillPavment Online Payment 5881528741 To                               -26. B0                                 2,278.47
                                           F
       12/27/2016 Debit Card               AT&T SPRING MOBILE #870                       -53.90                                  2,305.21
                                           HIALEA
       12127/201G Debir Card               CHEVRON 03OB224 MIAIV1I                       -40.50                                  2,359.11
                                           SPRiNGS
       12/27/2076 Online                   Online Transfer from MMA .,.35                                          1,000.00      2,399.51
                       Tra nsfer
       t2/20/2076 Deoit Card               TOYS R US #8705 HIALEAH FL                    -14.97                                  1.399.61 .
       72/19/2076 ACil Debit               TARGET CARD SRVC BILL PAY                     -53.90                                  7,414.58.
                                           00
       t2/79/20t6 ACI-1 Debit              BK OF AMER VIIMC ONLINE                   -320.00                                     1,468.48
                                           PMT CK

                                                                                                                       Newer       (}lder




lrttps://ca-belll -phase3.ipmchase.net/caldemandDepositTransactionFlistoryPrintFriendly-11...                                               112412017
                            Case 16-26663-AJC                   Doc 50          Filed 10/03/17            Page 12 of 13             Page I of I



        Transaetion hlistory
          Customer: IUAN CARLOS MORALES-
                        JUAN CARLOS MORALES
          Account: MI/FLlGASavinqs #XXXXXX3550

                                                                                                                           ;.tquiiea iieia

          Current Balance   c          Present Balance EI       Available Less Overdraft    g            Avaitable galance S
                                                                                                                                   caiendar

          $0.00                        $0.00                    $0.00                                    $o   oo                    ::

                                                                                                       * &*nqltes &md *t day balauxc*
          Date Posted       Tran Type          Description                         $       Debits(-)        $ Credits(+) $ Balance
          07/03/2017        Withdrawal         WITHDRAWAL # 476272337        A             -97,027 .44                             0.00 *-.
          0t/03/2077        Inteles!           INTEREST PAYMENT                                                       0.74   91,027.44
          L2/27/20t6        Interest           INTEREST PAYMENT                                                       3.73   91,,026.70 *
          12/21/2076        Online             Online Transfer to CHK ...8739               -1,000.00                        91,022.97 *
                            Transfer
          72/20/2076        Withdrawal         WITHDRAWAL    # 405945618 E                  -5,528.77                           92,022.97 *
          72/07 /2016       Deposit            ATM CHECK DEPOSIT 12107                                                700.00    97,557.74     r<

                                               1456 w El
          12/0s/20t6        Deposit            ATM CASH DEPOSIT 12105                                                 400.00    96,851.74 ,
                                               1456 W
          12/05/2016        Deposit            ATM CHECK DEPOSIT 12103                                              2,199.00    96,457.74
                                               4451 N E
          72/05/2076        Deposit            ATM CHECK DEPOSIT 12105                                              2,525.00    94,252.74
                                               1456 W   E
          17/29/2076        Deposit            ATM CHECK DEPOSIT 11/29                                                96s.00    91,727.74 *
                                               14s6 w El
          L1/28/2016        Interest           INTEREST PAYMENT                                                         3. 84   90,762.74 *
          7t/14/2076        Online             Online Transfer from CHK ...97                                         753.00    90,758.90 *
                            Transfer
          77/14/2076        Online             Online Transfer from CHK ...43                                         753.00    90,005.90
                            Transfer
          rt/07/2016        Deoosit            AT|Y CASH DEPOSIT 11/05                                                500.00    89,252.90 *
                                               1456 W
          77/07 /2076       Pepqsj             ATM CHECK DEPOSIT 11/05                                              1,600.00    88,752.90
                                               14s6 W   E
          t7/04/2016        Deposit            ATM CHECK DEPOSIT 11/04                                             4,749,00     87,152.90 r
                                               1456 w El

    !
                                                                                                                                     Jer
                                                                                                                                  0lder            ::
                                                                                                                                                   :i
    1..




https:/ica-cdc2-phase3. jpmchase.nerlcaldemandDepositTransactionHistoryPrintFriendly-fl...                                           112412017
                     Case 16-26663-AJC          Doc 50        Filed 10/03/17         Page 13 of 13                  Page I of 1



       Transaction History
       CustomeT: JUAN CARLOS MORALES
                    JUAN CARLOS MORALES
       Account: MI/FL/GA Savinqs #XXXXXX3550

                                                                                                       ' t *z*1uirl e* (z*4*3

                                                                                                                   ca*lendar
       current Balance E   present Batance I!   Available Less overdraft 3       Avaitable ealance I
                                                $o.oo                            $0'00                             ::
       $o.oo           $0.00
      I Showing Transactions from L2/28/281,6 ta                                     d*notss er*d of day balanr,a
      : ot/ae/zotz
                                                                               '44                                               :




                                                                                                                                 i




  :   Date Posted Tran Type Description              $ Debits(-) $                        Credits(+) $           Balance
    , 07/03/2077 Withdrawal WITHDRAWAL # 476272331 a   -97,027.44                                                       0.00,*
  . .  O1/O3/2O-.L7 lnt:erEit INTEREST PAYMENT          ..                                       O.74 9L,O27.44




https://ca-cdc2-phase3 jpmchase.net/caldemandDepositTransactionHistoryPrintFriendly-11...                               112412017
